 Case 5:11-cv-05052-JLH Document 7            Filed 10/24/11 Page 1 of 2 PageID #: 21



                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


JOYCE HOLMAN                                                                PLAINTIFF



v.                                  Case No. 11-5052



NATIONAL ENTERPRISE SYSTEMS,
INC.                                                                        DEFENDANT


                                         ORDER


      Now     on   this    24TH   day    of       October,   2011,    comes   on    for

consideration plaintiff’s Motion to Dismiss With Prejudice (doc.

# 6).

      IT APPEARING to the Court that the matter has been settled,

the   Court    finds      that    the   motion      should   be,     and   hereby   is,

granted.       Further it is ORDERED that the case be, and it is

hereby, dismissed with prejudice, subject to the terms of the

settlement agreement.

      If any party desires to make the terms of the settlement a

part of the record herein, those terms should be reduced to

writing and filed with the Court within thirty days from the file

date of this Order.




                                              1
 Case 5:11-cv-05052-JLH Document 7   Filed 10/24/11 Page 2 of 2 PageID #: 22



     The Court retains jurisdiction to vacate this Order and to

reopen the action upon cause shown that settlement has not been

completed and that a party wishes this Court to enforce the

settlement agreement specifically.

     IT IS SO ORDERED.

                                 /s/ Jimm Larry Hendren
                                 UNITED STATES DISTRICT JUDGE




                                     2
